UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------- X
SAUL SABINO,                                                    :
                                                                :
                                    Plaintiff,                  :   20-CV-5861 (EK) (JRC)
                                                                :
         - against -                                            :
                                                                :   DECLARATION OF ANDREW
JAMES OGLE, et al.,                                             :   BLANCATO
                                                                :
                                    Defendants.                 :
--------------------------------------------------------------- :
                                                                X

        ANDREW BLANCATO, an attorney duly licensed to practice law before this Court,

declares the following to be true to the best of my knowledge under penalty of perjury:

        1.       I am an Assistant Attorney General in the office of LETITIA JAMES, Attorney

General of the State of New York, counsel for defendant in this matter.

        2.       I am fully familiar with the pleadings in this matter and submit this Declaration in

support of defendant James Ogle’s (“Defendant”) motion to dismiss pursuant to Rule 12 of the

Federal Rules of Civil Procedure. True and accurate copies of the following documents are

annexed:

        A.       Parole Warrant for Saul Sabino dated August 23, 2018;

        B.       New York State Parole Status Inquiry for Saul Sabino;

        C.       Board of Parole Preliminary Violation Hearing Decision dated June 19, 2019;

        D.     New York State Parole Revocation Hearing Notification dated June 19, 2019
        (redacted).
       WHEREFORE, for the reasons stated in the accompanying memorandum of law,

Defendant respectfully submits that this Court should grant the underlying motion dismissing the

Amended Complaint.

Dated: New York, New York
       August 10, 2022

                                             Respectfully submitted,

                                             LETITIA JAMES
                                             Attorney General of the
                                             State of New York
                                             Attorney for Defendant
                                             By:

                                             _/s/ Andrew Blancato______________
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